    Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 1 of 33 PageID #:98




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


CARLA RODGERS,                                         )
                                                       )
                                Plaintiff,             )
                                                       )
v.                                                     )   Case No. 1:17-cv-5240
                                                       )
COOK COUNTY, ILLINOIS, a municipal                     )
corporation within the State of Illinois,              )
OFFICE OF THE CHIEF JUDGE OF THE                       )
CIRCUIT COURT OF COOK COUNTY,                          )
ILLINOIS, directing the personnel of the               )
COOK COUNTY ADULT PROBATION                            )   Honorable Manish S. Shah,
DEPARTMENT, LAVONE HAYWOOD,                            )   Judge Presiding.
individually and in his official capacity as Chief     )
Probation Officer, MATTHEW SOBIESKI,                   )
individually and in his official capacity as Assistant )   Honorable Sidney I. Schenkier
Chief Probation Officer, PHIL LOIZON,                  )   Magistrate Judge.
individually and in his official capacity as Deputy )
Chief Probation Officer, and MARY KENNEDY,)
individually and in her official capacity as           )
Intensive Drug Supervisor,                             )
                                                       )
                                Defendants.            )   JURY DEMANDED




                             SECOND AMENDED COMPLAINT

       NOW COMES the Plaintiff, CARLA RODGERS, by and through her

attorneys, John P. DeRose and Caitlyn F. DeRose of John P. DeRose & Associates,

and as and for her Second Amended Complaint against Defendants COOK

COUNTY, ILLINOIS, a municipal corporation within the State of Illinois, THE

OFFICE OF THE CHIEF JUDGE OF THE CIRCUIT COURT OF COOK

COUNTY, ILLINOIS, as the employer directing all the employees of the COOK


                                                  1
    Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 2 of 33 PageID #:99




COUNTY ADULT PROBATION DEPARTMENT, LAVONE HAYWOOD,

individually and in his official capacity as Chief Probation Officer, MATTHEW

SOBIESKI, individually and in his official capacity as Assistant Chief Probation

Officer, PHIL LOIZON, individually and in his official capacity as Deputy Chief

Probation Officer, and MARY KENNEDY, individually and in her official capacity

as Intensive Drug Supervisor, states as follows:

                                        INTRODUCTION

       1.      42 U.S.C. § 1983 provides a cause of action against any person who,

acting under color of state law, “subjects, or causes to be subjected, any citizen of

the United States or other person within the jurisdiction thereof to the deprivation

of any rights, privileges, or immunities secured by the Constitution and laws.”

       2.      This action is brought pursuant to Title VII of the Civil Rights Act of

1964 (“Title VII”), 42 U.S.C. §§ 2000e, et seq., as amended, and State Law Claims of

hostile and retaliatory treatment in the workplace, and Intentional Infliction of

Emotional Distress claims.

                                 JURISDICTION AND VENUE

       3.      This action is brought pursuant to 29 U.S.C. § 794; and the jurisdiction of this

court is invoked pursuant to 29 U.S.C. § 794(a)(1). Venue lies in the Northern District of

Illinois, Eastern Division, pursuant to 28 U.S.C. §§ 1331, 1343(a)(3).

       4.      Venue is proper under 28 U.S.C. § 1391(b) because the events giving rise to this

claim occurred in this judicial district and plaintiff and defendants reside in this District and the

events giving rise to the claims asserted herein occurred within this judicial district.



                                                   2
    Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 3 of 33 PageID #:100




      5.       Pursuant to 28 U.S.C. § 1367, Plaintiff requests this Honorable Court to exercise

supplemental jurisdiction over her state law hostile work environment and retaliatory treatment

and intentional infliction of emotional distress which turn on an identical set of facts as her §

1983 claims, the same evidence will be used to prove all claims, and the same questions of fact

are involved with all claims.

                                             PARTIES

       6.      Plaintiff Carla Rodgers (hereinafter sometimes referred to as

“Plaintiff”, “Carla Rodgers”, or "Ms. Rodgers") is, at all relevant times hereinafter

mentioned, a resident of the City of Chicago in the County of Cook, and a citizen of

the State of Illinois and of the United States of America.

       7.      Defendant Cook County, at all relevant times hereinafter mentioned,

is a municipal corporation within the State of Illinois which oversees the Cook

County Adult Probation Department and Plaintiff’s employer, exercising significant

control over her hiring and firing, exercising significant control over the conditions

of her employment, directing all employees of the Cook County Adult Probation

Department, and acting under the color of law.

       8.      The Office of the Chief Judge of the Circuit Court of Cook County,

Illinois, at all relevant times hereinafter mentioned, was Plaintiff’s employer,

exercising significant control over her hiring and firing, exercising significant

control over the conditions of her employment, directing all employees of the Cook

County Adult Probation Department, and acting under the color of law.

       9.      Defendant Lavone Haywood, at all relevant times hereinafter

mentioned, was Chief Probation Officer of the Cook County Adult Probation

                                                  3
   Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 4 of 33 PageID #:101




Department, supervising the employees of the Cook County Adult Probation

Department, exercising significant control over the conditions of Plaintiff’s

employment, and acting under the color of law.

      10.    Defendant Matthew Sobieski, at all relevant times hereinafter

mentioned, was Assistant Chief Probation Officer of the Cook County Adult

Probation Department, supervising the employees of the Cook County Adult

Probation Department, exercising significant control over the conditions of

Plaintiff’s employment, and acting under the color of law.

      11.    Defendant Phil Loizon (hereinafter sometimes referred to as "Deputy

Chief Loizon " or "Phil Loizon"), at all relevant times hereinafter mentioned, was

Deputy Chief Probation Officer of the Cook County Adult Probation Department,

supervising the employees of the Cook County Adult Probation Department,

exercising significant control over the conditions of Plaintiff’s employment, and

acting under the color of law.

      12.    Defendant Mary Kennedy, at all relevant times hereinafter mentioned

was an Intensive Drug Supervisor of the Cook County Adult Probation Department,

supervising the employees of the Cook County Adult Probation Department,

exercising significant control over the conditions of Plaintiff’s employment, and

acting under the color of law.




                                           4
   Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 5 of 33 PageID #:102




                                          FACTS

                 A. Ms. Rodgers Highly Regarded as a Probation Officer

         13.   Plaintiff, Carla Rodgers was hired as a Cook County Adult Probation

Officer in August 1997.

         14.   Over the years of her employment, Ms. Rodgers was given increases in

job responsibility, having started out as a Caseload Probation Officer and later

being given the increased responsibilities of an Intensive Probation Supervision

Officer.

         15.   As an Intensive Probation Supervision Officer, Ms. Rodgers supervises

probationers who have been convicted of some of the most serious felony charges in

the Circuit Court of Cook County, Illinois and are under intensive scrutiny for the

court.

         16.   Ms. Rodgers enjoyed respect and admiration from her co-workers in

the Cook County Adult Probation Department.

         17.   Cook County Adult Probation Officers, many of whom have many

years of loyal and faithful service to and have labored long and hard in support of

the Cook County Criminal Judicial System, perform their dedicated service often at

great risk to their own personal safety.

                             B. Plaintiff's Job Responsibilities

         18.   Plaintiff’s job as an Intensive Probation Supervision Officer for the

Adult Probation Department of Cook County included, but was not limited to:

         a. Supervision of probationers who had curfews requiring them to be in the
         house from 7 PM to 7 AM each day;


                                             5
   Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 6 of 33 PageID #:103




      b. At least twice per week, make unannounced visits to the homes of
      probationers to make sure they are complying with the court ordered curfews;

      c. At least once per week, meet with the probationers in the Office of the Cook
      County Adult Probation Department to assess the probationers’ compliance
      with the terms and conditions of the court ordered intensive probation;

      d. For those probationers on intensive drug probation, at least once per
      month perform a urine test of the probationers to ensure that they have
      remained drug-free;

      e. For those probationers ordered to psychiatric or psychological counseling or
      ordered to do community service, confirm that the probationers are in
      compliance with that court order;

      f. Prepare and forward written reports for and to the judges of the Circuit
      Court of Cook County advising concerning the progress of their probationers
      while on probation; and

      g. If required, personally appear before the judge to advise concerning the
      progress of the probationer.

        C. Ms. Rodgers Meets the Legitimate Expectations of Her Employer

      19.     Until the occurrence of the events specifically referred to hereinafter,

Ms. Rodgers always met the legitimate expectations of her employer and its

command staff and supervisory staff of the Cook County Adult Probation

Department.

              D. Ms. Rodgers Receives Retaliation from Her Command
                      for Exercise of Her Rights under FMLA

      20.     Despite the fact that Ms. Rodgers was on leave pursuant to the FMLA

approved by her doctor and the Cook County Adult Probation Human Resources

Department, Plaintiff was called into an “Investigatory Meeting” on November 4,

2015 via email.




                                           6
   Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 7 of 33 PageID #:104




      21.    The email indicated that Ms. Rodgers would need union representation

at the Investigatory Meeting.

      22.    The email further indicated that the Investigatory Meeting would

concern the Darrien Gunn case.

      23.    Ms. Rodgers was being accused of having improperly closed out the

case of Darrien Gunn, a probationer assigned to her.

      24.    When Ms. Rodgers prepared the case for closing due to the death of

Darrien Gunn, she followed the same procedures as she had followed in the past.

      25.    Present at the Investigatory Meeting on November 4, 2015 were

Deputy Chief Probation Officer Phil Loizon, Intensive Drug Supervisor Mary

Kennedy, Intensive Probation Supervisor James Brannigan, Union

Representative/Intensive Probation Officer Nateba Montgomery, and Ms. Rodgers.

      26.    At the very start of the meeting, Deputy Chief Probation Officer Phil

Loizon said in a very loud and intimidating voice to Ms. Rodgers:

             I don’t care about your FMLA. I don’t care if you are on
             FMLA. You have to come to work. You still have work to
             do. Where else can you make $80,000 a year without
             coming to work and without doing any paperwork?

             If you want to be lazy, this unit is not the unit for you. Go
             to Caseload. This unit is about immediacy!

      27.    The manner in which Deputy Chief Probation Officer Phil Loizon was

addressing Plaintiff in the presence of other probation officers was demeaning and

insulting, particularly in light of the reasons requiring Ms. Rodgers to exert her

rights under FMLA.



                                           7
   Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 8 of 33 PageID #:105




      28.    Ms. Rodgers felt intimidated and ambushed because she thought that,

as she had been advised, the Investigatory Meeting was to discuss her closing of the

Darrien Gunn case.

      29.    After the initial unexpected outburst by Deputy Chief Loizon which she

found completely upsetting and unwarranted, Plaintiff was ready to leave the

meeting.

      30.    Suddenly, Deputy Chief Loizon unexpectedly inquired of Ms. Rodgers:

                    “Why are you here?”

      31.    Ms. Rodgers indicated that she had come to the Investigatory Meeting

to discuss the closing of the Darrien Gunn case

      32.    Then Deputy Chief Loizon accused Ms. Rodgers of turning in the

paperwork closing the case late, and Ms. Rodgers promptly protested that the case

had not been turned in late.

      33.    Ms. Rodgers explained that she had to wait for a copy of the Death

Certificate of Darrien Gunn before she could properly close the case.

      35.    Following the procedure that she had been using for years, once Ms.

Rodgers received the Death Certificate for the probationer, she closed the case.

      36.    Ms. Rodgers pointed out that as soon as she obtained the Death

Certificate for the probationer, she wrote a request for a case closing in the Circuit

Court of Cook County, Illinois.




                                           8
   Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 9 of 33 PageID #:106




      37.       Deputy Chief Loizon accusatorily stated that the Circuit Court Judge

had already closed the case of Darrien Gunn by the time the report and request to

close the case were forwarded from Ms. Rodgers.

      38.       Ms. Rodgers defended herself at this Investigatory Meeting indicating

that she followed the appropriate procedure and did what she was supposed to do,

as her paperwork was sent to her supervisor for final approval.

      39.       Ms. Rodgers explained that only after final approval had been received

from her supervisor was the paperwork typed up, and a hearing scheduled before

the Judge.

      40.       Ms. Rodgers contended that she should not be held responsible for

anything that would be done in court thereafter if the judge had obtained a Death

Certificate from some other source of which she was unaware and then closed the

case on his own before she had obtained the appropriate documentation to make

that request.

      41.       Immediately thereafter, the Investigatory Meeting turned into an

attack of Ms. Rodgers management of her entire caseload.

      42.       Deputy Chief Loizon directed the attendees at the Investigatory

Meeting to look at the Patricia Akins case.

      43.       Deputy Chief Loizon wanted to know why Ms. Rodgers had not closed

the Akins case in July 2015.




                                            9
   Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 10 of 33 PageID #:107




       44.     Neither Deputy Chief Loizon nor any other attendee at the meeting

had brought the entire printing of the Patricia Akins case with them because that

had not been the stated purpose of the Investigatory Meeting.

       45.     Without the file in front of her, Ms. Rodgers indicated that she was not

prepared to speak with authority concerning the Patricia Akins matter.

       46.     Ms. Rodgers postulated and defended herself stating that maybe she

had not been in the office for most of the month of July or maybe even probationer

Patricia Akins had been in jail.

       47.     Deputy Chief Loizon next brought up the David Abrams case, stating:

               Abrams committed murder, and there has been nothing
               written on the case. Can you imagine now that would look
               to the public?

       48.     Knowing full well what he was doing, Deputy Chief Loizon made this

assertion to falsely accuse Ms. Rodgers of failing to document such a serious charge

in the file.

       49.     Ms. Rodgers and other attendees at the meeting became upset in the

face of the accusation made by Deputy Chief Loizon as they had no knowledge that

David Abrams had been charged with a new murder.

       50.     As a matter of fact, the murder about which Deputy Chief Loizon was

speaking had previously occurred and David Abrams had been convicted years

earlier and the probationer had already served his time on that case.

       51.     David Abrams had been given probation on 10/8/15, and Ms. Rodgers

met with him very shortly after he was given intensive probation by the court.



                                           10
  Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 11 of 33 PageID #:108




      52.    Because his case had not yet been initiated into the Cook County Adult

Probation Department computer system, Ms. Rodgers made handwritten notes to

the file of the information she gathered concerning David Abrams at his initial

interview.

      53.    The paperwork concerning David Abrams was not even completed by

the staff and placed in the computer system until 10/20/15 when Ms. Rodgers would

finally be able to enter her handwritten notes into the computer.

      54.    Ms. Rodgers explained that in late October 2015 she was on approved

FMLA leave, was having very serious problems at home in caring for her ailing

mother, and could not update the computer system on the David Abrams case.

      55.    Only after the David Abrams case had been entered into the computer

system of the Cook County Adult Probation and Ms. Rodgers returned from FMLA

leave could she update her handwritten notes into the computer system.

      56.    Ms. Rodgers protested to Deputy Chief Loizon that if she had known

the Investigatory Meeting was going to concern her entire caseload, she would have

been prepared to speak on each case.

      57.    Then Deputy Chief Loizon and Intensive Drug Probation Supervisor

Mary Kennedy directed Ms. Rodgers attention to a memo written in 2013 requiring

her to run court checks on all probationers.

      58.    Intensive Drug Probation Supervisor Mary Kennedy heatedly asserted

that the 2013 memo required all Intensive Supervision Probation Officer to always




                                          11
  Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 12 of 33 PageID #:109




runs ICLEAR checks, CRT checks, and LEADS checks during every contact with

probationers assigned to her.

        59.   Ms. Rodgers defended that she never did receive and had no knowledge

of the 2013 memo to which her attention was then being directed and therefore

could not be expected to follow it.

        60.   Deputy Chief Loizon and Intensive Drug Probation Supervisor Mary

Kennedy in raised and accusatorial voices insisted that “everyone got the memo”.

        61.   Ms. Rodgers contended that as far as she knew no Intensive

Supervision Probation Officer was ever following such a direction or told her that

they even knew of it.

        62.   Ms. Rodgers asked why the 2013 memo had not been brought up for

over two years if it was perceived that Ms. Rodgers was not following it all that

time.

        63.   Union Representative Montgomery added that she had never seen the

memo either.

        64.   Intensive Drug Probation Supervisor Mary Kennedy indicated that she

had a copy of the memo on their desk at that very moment and would get a copy for

Ms. Rodgers after the Investigatory Meeting.

        65.   As the Investigatory Meeting was concluding, Deputy Chief Loizon

stated that Ms. Rodgers had to bring her “negligent caseload” up to standards.

        66.   Deputy Chief Loizon added that he doubted that she could do so, but

he would give Ms. Rodgers “a month to try”.



                                          12
  Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 13 of 33 PageID #:110




      67.   In a calmer but still intimidating voice, Deputy Chief Loizon asked Ms.

Rodgers two times if she understood.

      68.   To both inquiries, Ms. Rodgers indicated that she did not understand

because her caseload was up to standards and was not negligent in any fashion.

      69.   Plaintiff felt completely badgered, ambushed, and unfairly intimidated

and threatened by the actions of Deputy Chief Loizon and Intensive Drug Probation

Supervisor Mary Kennedy at the Investigatory Meeting.

      70. Deputy Chief Probation Officer Loizon had long had a reputation among

Cook County Adult Probation Officers of intimidating and unfairly accusing and

disciplining them.

      71.   After the Investigatory Meeting had concluded, Intensive Drug

Probation Supervisor Mary Kennedy told Ms. Rodgers and Union Representative

Montgomery that, if they would accompany her to her office, she would provide

them with a copy of the memo.

      72.   Ms. Rodgers and Union Representative Montgomery declined the offer,

indicating that they would look for the memo on their own.

            F. Ms. Rodgers Is Granted Different Union Representation

      73.   Feelings sorry that Union Representative Montgomery had been

caught up in this situation because she also worked for the same supervisors and in

the same department as Plaintiff, immediately after the meeting Ms. Rodgers wrote

Union President James Dunaway and requested that henceforward she be assigned

Union Steward Claudia Martin to represent her in any meetings with Defendants.



                                        13
  Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 14 of 33 PageID #:111




      74.    The request from Ms. Rodgers was fulfilled, and Union Steward

Claudia Martin was assigned to represent her in all future matters.

               G. Ms. Rodgers Call to Further Investigatory Meetings

      75.    After several starts and stops, Ms. Rodgers was called down to the

Administrative Offices of the Cook County Adult Probation Department for another

Investigatory Meeting on February 23, 2016.

      76.    In attendance at that meeting was Deputy Chief Loizon, Intensive

Drug Probation Supervisor Mary Kennedy, Union Steward Claudia Martin, and

Plaintiff as Human Resources Director Noreen Larson would step in and out of the

meeting periodically.

      77.    The Investigatory Meeting had been scheduled to discuss the Plaintiff’s

handling of the Corey Thomas case.

      78.    Deputy Chief Loizon and Intensive Drug Probation Supervisor Mary

Kennedy announced that Ms. Rodgers would be written up because she had not

followed the dictates of the 2013 memorandum.

      79.    Ms. Rodgers became emotionally upset because she had never been

disciplined or written up before as a Cook County Adult Probation Officer.

      80.    When Ms. Rodgers was finally able to compose herself, Deputy Chief

Loizon started to bring up additional matters about which they were considering

discipline of Ms. Rodgers.




                                         14
  Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 15 of 33 PageID #:112




      81.    Union Steward Claudia Martin indicated that any additional matters

could only be discussed in a separate meeting because no notice of additional

charges had ever been tendered to Ms. Rodgers for which she could prepare.

      82.    When Deputy Chief Loizon insisted that he was going to discuss

additional issues with Ms. Rodgers, Union Steward Claudia Martin stepped out of

the room.

      83.    As Plaintiff was now alone in the room without union representation,

Deputy Chief Loizon proudly announced while simultaneously continually pointing

and shaking his finger at Ms. Rodgers:

             We have you now! You got the judge angry because you
             did not follow his order to change the community service
             site for your probationer. Now, Assistant Chief Matt
             Sobieski is involved. I am going to get you for that!

      84.    Although it appeared that the participants at the meeting would not

listen to anything she had to say in her defense, Ms. Rodgers told them that she had

changed the community service site for the probationer as ordered by the judge, had

advised her supervisor of that fact, and had gone to court to advise the judge that

the probationer had misstated her failure to complete the site change.

      85.    The judge believed the assertion by Ms. Rodgers, confronted the

probationer about why he had indicated otherwise, apologized to Ms. Rodgers, and

excused her from the court proceedings.

      86.    While she was obviously emotionally upset during this portion of the

meeting, Deputy Chief Loizon continued pointing and shaking his finger at Ms.

Rodgers as he promised:

                                          15
   Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 16 of 33 PageID #:113




                I also know that Judge Lenihan in Bridgeview is angry
                about something you did. I don’t know what it is yet, but
                when I find out what that is all about, I’m going to get you
                for that too!

         87.    With that Ms. Rodgers broke down and the meeting was adjourned.

                H. Deputy Chief Loizon Is Placed on Administrative Leave
                             Only to Be Later Terminated

         88.    Shortly after his last meeting with Ms. Rodgers on February 23, 2016,

Deputy Chief Loizon was placed on administrative leave for various widely

publicized transgressions and official misconduct.

         89.    As the press coverage concerning the transgressions of Deputy Chief

Loizon intensified, his employment with the Cook County Adult Probation

Department was terminated.

               I. Ms. Rodgers Assured That All Problems Had Been Resolved

         90.    In March 2016, Chief Probation Officer Lavon Haywood came out to

the Sixth District Courthouse in Markham Illinois and met with Ms. Rodgers.

         91.    Chief Probation Officer Lavon Haywood said to Ms. Rodgers, “It’s over

with!”

         92.    As she fought back tears, Ms. Rodgers inquired further of Chief

Probation Officer Lavon Haywood, “Are you sure? This has been going on with

Loizon for a long time.”

         93.    Chief Probation Officer Lavon Haywood again assured Ms. Rodgers,

“It’s over with!”




                                             16
  Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 17 of 33 PageID #:114




             I. Ms. Rodgers Disciplined for the First Time in Her Career

      94.    On May 17, 2016, Plaintiff and Union Steward Claudia Martin were

summoned to the Cook County Criminal Courts Building to a meeting presided over

by Assistant Chief Probation Officer Matthew Sobieski and Deputy Chief Probation

Officer Valerie Starling.

      95.    At the meeting, it soon became apparent that contrary to the

assurances she had received in March from Chief Probation Officer Lavon Haywood,

Assistant Chief Sobieski was planning to discipline her.

      96.    Assistant Chief Sobieski would not listen to anything that Ms. Rodgers

or Union Steward Claudia Martin had to say, but only indicated:

             This is it. This is already written. I really don’t want to
             hear anything else. Anything you have to say will have to
             be considered in a grievance from the union.

      97.    After that statement, Assistant Chief Sobieski presented Ms. Rodgers

with a Circuit Court of Cook County Disciplinary Action Form.

      98.    The Circuit Court of Cook County Disciplinary Action Form indicated

that Ms. Rodgers had failed to comply with the 2013 memo in relation to the Corey

Thomas case.

      99.    This was the first time in her career that Ms. Rodgers had ever

received discipline.

      100.   Ms. Rodgers was never provided an opportunity by Assistant Chief

Sobieski to defend herself at that meeting.




                                         17
  Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 18 of 33 PageID #:115




      101.    Assistant Chief Sobieski had never discussed any allegations

concerning wrongdoing by Ms. Rodgers with her or her union representative before

the discipline was imposed.

      102.    The meeting was extremely short, and Ms. Rodgers was summarily

dismissed from the Probation Office while she was obviously emotionally

distraught.

        J. Ms. Rodgers Notifies Command of Harassment in the Workplace,
                        But Her Complaints Are Ignored

      103.    Having been disciplined for not completing work while on approved

FMLA and having been retaliated against for exercising her rights under the

FMLA, plaintiff protested to members of her command.

      104.    Carla Rodgers filed grievances with her union, but still no corrective

action was taken the illegal discipline against her was allowed to stand.

      105.    After her many years of loyal service, Carla Rodgers could only be

formally disciplined as a Probation Officer with the advice and consent of Chief

Judge Timothy Evans who directed the activities of the Cook County Adult

Probation Department.

                   K. Ms. Rodgers Files a Charge of Discrimination
                       Based on the Hostility and Retaliation
                          She Experiences in the Workplace

      106.    On June 14, 2016 Carla Rodgers filed a Charge of Discrimination with

the Illinois Department of Human Rights charging that she had been subjected to

sexual harassment in the workplace because she had been constantly called into

Investigatory Meetings and Pre-Disciplinary Meetings by Deputy Chief Loizon

                                          18
  Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 19 of 33 PageID #:116




accusing her of poor job performance. (A copy of the Charge of Discrimination was

attached to her original complaint and made a part thereof as Exhibit “A”).

                           L. Ms. Rodgers Given a Right to Sue

      107.      On April 13, 2017, Plaintiff was given a Right to File a Complaint by

the Illinois Department of Human Rights in the Circuit Court of Cook County (A

copy of the Right to Sue Letter from the Illinois Department of Human Rights was

attached to and made a part of Plaintiff’s original Complaint in this cause as

Exhibit "B").

      108.      Appreciating that the Illinois Department of Human Rights and the

Equal Employment Opportunity Commission have concurrent jurisdiction over

claims initiated under Title VII of the Civil Rights Act of 1964 (“Title VII”), 42

U.S.C. §§ 2000e, et seq., as amended, still the Illinois Department of Human Rights

did not authorize the filing of suit in this Federal District Court.

      109.      A similar authorization of right to sue had not yet been received from

the Equal Employment Opportunity Commission at the time of filing of Plaintiff’s

original Complaint.

      110.      Out of an abundance of caution, since the right to sue received from

the Illinois Department of Human Rights authorized the filing of suit by July 15,

2017, plaintiff filed her original Complaint in the Above-Captioned Litigation.

      111.      Upon receipt of the Right to Sue Letter from the Equal Employment

Opportunity Commission, pursuant to Fed.R.Civ.P. 15(a), Ms. Rodgers sought leave

to file this Second Amended Complaint to include such letter according to the



                                            19
   Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 20 of 33 PageID #:117




holdings in Gibson v. Kroger Co., 506 F.2d 647, 652-53 (7th Cir. 1974) and Fields v.

Village of Skokie, 89 F.R.D. 576, 578 (NDIL 1981). (A copy of the Right to Sue Letter

from the Equal Employment Opportunity Commission is attached hereto and made

a part hereof as Plaintiff’s Exhibit “1”).

                                             COUNT I

   PLAINTIFF SEEKS RECOVERY FROM HER EMPLOYER, COOK COUNTY
     AND THE OFFICE OF THE CHIEF JUDGE OF COOK COUNTY FOR
         HOSTILE WORK ENVIRONMENT AND DISCRIMINATION
                           IN VIOLATION OF
               TITLE VII of the CIVIL RIGHTS ACT of 1964

       112.   Plaintiff realleges and incorporates the foregoing paragraph 1 through

paragraph 111 of this Complaint as paragraphs 1 through 111 of this Count I as

though fully set forth at this place.

       113.   Plaintiff is qualified for the job she holds as a Probation Officer for the

Cook County Adult Probation Department and performs all job functions to

Defendants' legitimate employment expectations.

       114.   Despite Plaintiff’s qualifications and job performance, Defendants

discriminate and retaliate against her claiming that she was not performing her job

satisfactorily after she exercised her rights to FMLA leave.

       115.   Defendants' discrimination and retaliation against Plaintiff and denial

of her rights under Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C.

§§ 2000e et seq., as amended is intentional.




                                             20
  Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 21 of 33 PageID #:118




      116.    Plaintiff’s employers, Defendants Chief Judge Timothy Evans and

Cook County discriminate against Plaintiff in the terms and conditions of her

employment.

      117.    Plaintiff’s employers, Defendants Chief Judge Timothy Evans and

Cook County continue to show reckless indifference to the intentional violations of

plaintiff’s rights under title VII by the Individually-Named Defendants of the Cook

County Adult Probation Department being sued in their individual capacity.

      118.    Although often requested to do so and alerted to the violation of her

rights that has been long occurring, Plaintiff’s employers, Defendants Chief Judge

Timothy Evans and Cook County have failed to take any corrective action in this

matter whatsoever to avoid harm to Ms. Rodgers or punish the wrongdoers.

      119.    Similarly situated male employees who do not complete assignments

while on approved leaves from the workplace are not subjected to the same terms

and conditions of employment as the Plaintiff.

      120.    The reasons for the harassment and retaliation of plaintiff given by the

individually named defendants in this cause being sued in their individual capacity

are false and merely pretext for illegal discrimination.

      121.    The reasons for Plaintiff’s suspension given by the individually named

defendants in this cause being sued in their individual capacity are false and merely

pretext for illegal discrimination.

      122.    Plaintiff’s employers, Defendants Chief Judge Timothy Evans and

Cook County could have opposed and stopped the formal discipline of Ms. Rodgers,



                                          21
   Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 22 of 33 PageID #:119




but instead ratified and approved the discriminatory action taken by the

Individually Named Defendants being sued in their individual capacity against her.

       123.   The actions taken by Plaintiff’s Employers, as described above, are in

violation of Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C. §§ 2000e

et seq., as amended in that Defendant employers acted to discriminate and retaliate

against Plaintiff in the terms and conditions of her employment because she did not

complete work assignments while off on approved leave under the FMLA.

       124.   Defendants showed a reckless indifference to Plaintiff’s well-known

rights under title VII of the Civil Rights Act of 1964, 42 U. S. C. §§ 2000e et seq., as

amended, and the violation of those rights without any repercussion whatsoever to

those who intentionally violated those rights.

       125.   As a direct and proximate result of said unlawful employment

practices and in disregard of the Plaintiff’s rights and sensibilities, Plaintiff has

suffered lost wages when suspended and has suffered the indignity of

discrimination, which has manifested in emotional distress and further has

negatively impacted her future ability to support herself, harmed her earning

capacity, disrupted her personal life, and caused loss of enjoyment of the ordinary

pleasures of life.

       126.   As the employer, Cook County is vicariously liable under Title VII for

the unlawful harassment of Carla Rodgers by the individually named defendants

being sued in their individual capacity who have been empowered by Cook County

to take tangible employment actions against her.



                                           22
   Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 23 of 33 PageID #:120




       WHEREFORE, Plaintiff Carla Rodgers requests the following relief against

her employer, Cook County, Illinois and the Office of the Chief Judge of Cook

County:

       A.      That Plaintiff be granted general and compensatory damages in an

amount to be determined at trial;

       B.      That the Court grant to Plaintiff her reasonably incurred attorneys'

fees, costs, litigation expenses, and pre-judgment interest; and

       C.      That the Court grant such other and further relief as the Court may

deem just or equitable.

                                             COUNT II

   PLAINTIFF SEEKS RECOVERY FROM HER EMPLOYER, COOK COUNTY
     AND THE OFFICE OF THE CHIEF JUDGE OF COOK COUNTY FOR
               RETALIATION IN VIOLATION OF TITLE VII

       127.    Plaintiff realleges and incorporates the foregoing paragraph 1 through 126 of this

Complaint as paragraphs 1 through 126 of this Count II as though fully set forth at this place.

       128.    Plaintiff met her employer’s legitimate employment expectations.

       129.    Plaintiff engaged in protected activity when she reported the harassment and

violations of Title VII to the Defendants.

       130.    On June 14, 2016, Plaintiff filed a Charge of Discrimination and Harassment

against Defendants with the Illinois Department of Human Rights.

       131.    After engaging in said protected activity, Defendants have engaged in many acts

of retaliatory actions which include, but are not limited to, conspiring among its Supervisors,

Human Resources Representatives, and Upper Management to deprive plaintiff of rights,

benefits and protections guaranteed to her under the law, unfairly disciplining and writing up


                                                23
   Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 24 of 33 PageID #:121




Plaintiff although she was performing to her employer’s legitimate expectations and could

continue to perform her job, transferring her to the criminal courts building located at 26 th St. and

California Avenue in Chicago from the Sixth District Courthouse in Markham to which she had

been assigned for over 17 years in order to increase the inconvenience and concern of Carla

Rodgers knowing full well that was only moments from her home to which he could be called at

any moment to render emergency medical care for her mother, six and otherwise harassing

Plaintiff in various ways designed to deprive her of those rights, benefits, and protections to

which she was entitled and to impede her ability to work for the Cook County Adult Probation

Department.

       132.    There is a causal connection between Plaintiff’s protected activity and the

retaliatory actions her employers have recklessly allowed to go unchecked and have even

affirmed such discriminatory practices although plaintiff has served notice to her employers of

those unlawful actions and practices by the Defendants being sued in their individual capacity.

       133.    Similarly situated employees who did not engage in protected activity were

treated more favorably than Plaintiff.

       134.    The reason for disciplining Plaintiff is false and the reason given for changing and

her workplace is merely pretext for illegal retaliation and was motivated by Defendants’ animus

towards her.

       135.    Plaintiff’s employers, Cook County Illinois and the person who directs the Cook

County Adult Probation Department, Chief Judge Evans granted approval for the for the illegal

and unwarranted discipline Plaintiff as a Probation Officer and the pretextual change of the

location of her work assignment.




                                                 24
   Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 25 of 33 PageID #:122




       136.    The actions by the Defendants being sued in their individual capacity, as

described above, are in violation of Title VII as they have engaged in acts of retaliation because

of Plaintiff’s engagement in protected activities.

       137.    To recklessly allow the above-mentioned discriminatory practices to continue

unabated, although often requested to take corrective action, shows reckless indifference to

Plaintiff’s rights under Title VII by her employers, Chief Judge Evans and Cook County Illinois.

       138.    As a direct and proximate result of said unlawful employment practices and in

disregard of the Plaintiff’s rights and sensibilities, Plaintiff has suffered lost wages when

suspended and the indignity of discrimination which has manifested in emotional distress and

further has negatively impacted her future ability to support herself, harmed her earning capacity,

disrupted her personal life, and caused loss of enjoyment of the ordinary pleasures of life.

       WHEREFORE, Plaintiff, Carla Rodgers requests the following relief against her

employer, Cook County, Illinois and the Office of the Chief Judge of Cook County:

       A.      That Plaintiff be granted general and compensatory damages in an amount to be

determined at trial;

       B.      That the Court grant to Plaintiff her reasonably incurred attorneys' fees, costs,

litigation expenses, and pre-judgment interest; and

       C.      That the Court grant such other and further relief as the Court may deem just or

equitable.




                                                 25
  Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 26 of 33 PageID #:123




                                     COUNT III

  PLAINTIFF SEEKS RECOVERY FROM HER EMPLOYER, COOK COUNTY
       AND THE OFFICE OF THE CHIEF JUDGE OF COOK COUNTY
  AND ALL DEFENDANTS BEING SUED IN THEIR INDIVIDUAL CAPACITY
             FOR RETALIATION FOR EXERCISING RIGHTS
          UNDER THE FAMILY MEDICAL LEAVE ACT (FMLA)

      139.   Plaintiff repeats and realleges Paragraphs 1 through 138 of this

Complaint as Paragraph 1 through 138 of Count III as though fully set forth herein.

      140.   Interference with Plaintiff’s exercise of her rights under the Family

Medical Leave Act was a motivating factor in the retaliatory actions taken by the

Individually Named Defendants towards her.

      141.   None of the Defendants ever did attempt a “meaningful review” of

Plaintiff’s complaints to them, did not attempt to constrain the actions of other

Defendants being sued in their individual capacity, and “granted authority” to them

to continue their threats, harassment, and retaliation of her in her employment as a

Cook County Probation Officer.

      142.   Defendants engaged in a pattern and practice of retaliation against

employees of the Cook County Adult Probation Department.

      143.   Defendants have knowledge of the complained of conduct and refuse

and have failed to take action to terminate or correct such conduct, leading to an

inference that such custom, policy, or practice must exist.

      144.   Plaintiff's exercise of protected rights under FMLA and her use of

intermittent and pre-approved leave was a substantial or motivating factor in the

adverse employment discipline taken against her by all the Defendants being sued



                                          26
   Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 27 of 33 PageID #:124




in their individual capacity who bore animus towards her.

       145.   The actions were taken against Plaintiff by her employer, Cook County

and all the Defendants being sued in their individual capacity under the color of law

because they bore animus towards her.

       146.   The actions taken by her employer, Cook County and all the

Defendants being sued in their individual capacity under the color of law were done

with animus towards Plaintiff's exercise of protected rights under FMLA and her

use of intermittent and approved leave.

       147.   Plaintiff's exercise of protected rights under FMLA and her use of

intermittent and approved leave were at least a motivating factor in the decision by

her employer, Cook County and all the Defendants being sued in their individual

capacity to take retaliatory action against her.

       148.   As a direct and proximate result of Defendants’ retaliatory conduct,

acting under the color of law and depriving plaintiff of her rights secured under the

Family and Medical Leave Act, Plaintiff suffered injury, including suspension

during her employment, damage to her reputation, great emotional distress, and

grave financial losses due to the suspension of her employment.

       149.   Pursuant to his authority, Plaintiff’s employer and the person who

directs the Cook County Adult Probation Department, Chief Judge Evans granted

approval for the transfer, reassignment, and relocation of Plaintiff as a Probation

Officer.




                                          27
  Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 28 of 33 PageID #:125




      150.   Plaintiff has suffered and continues to suffer from severe emotional

distress from the injuries caused to her by the violation of her constitutional rights

and suspension from her employment as set forth above.

      WHEREFORE, Plaintiff Carla Rodgers respectfully prays for judgment

against her employer, Cook County, Illinois, and the Office of the Chief Judge of

Cook County, and all the Defendants being sued in their individual capacity, jointly

and severally:

      A.     That Plaintiff be granted general and compensatory damages in an

amount to be determined at trial;

      B.     That Plaintiff be granted punitive or liquidated damages in an amount

to be determined at trial from only the Defendants being sued in their individual

capacity, jointly and severally;

      C.     That the Court grant to Plaintiff her reasonably incurred attorneys'

fees, costs, litigation expenses, and pre-judgment interest; and

      D.     That the Court grant such other and further relief as the Court may

deem just or equitable.

                                      COUNT IV

  PLAINTIFF SEEKS RECOVERY FROM HER EMPLOYER, COOK COUNTY
       AND THE OFFICE OF THE CHIEF JUDGE OF COOK COUNTY
  AND ALL DEFENDANTS BEING SUED IN THEIR INDIVIDUAL CAPACITY
         INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

      151.   Plaintiff repeats and re-alleges paragraphs 1 through 150 of this

Complaint as paragraphs 1 through 150 of this Count IV as though fully set forth

herein.

                                          28
   Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 29 of 33 PageID #:126




       152.    Having been repeatedly advised of the rights of Plaintiff and knowing

full well of the concern and inconvenience it would cause plaintiff by the relocation

of her work assignment after 17 years and inhibit her ability to attend to any

emergency concerns for the health of her mother for which she had been granted

intermittent FMLA, the actions of Defendants were extreme and outrageous.

       153.    The actions of the Defendants were done intentionally and maliciously

to cause severe emotional distress to Plaintiff.

       154.    Defendants knew or reasonably should have known that their actions

had a high probability of causing severe emotional distress to Plaintiff.

       155.    The actions of Defendants were intentional and malicious and

demonstrated a willful and wanton disregard for the rights of Plaintiff and had a

high probability of causing severe emotional distress to her.

       156. Plaintiff has suffered and continues to suffer from severe emotional

distress.

       WHEREFORE, Plaintiff Carla Rodgers respectfully prays this Honorable

Court to grant the following relief against her employer, Cook County, Illinois, and the

Office of the Chief Judge of Cook County, and all the Defendants being sued in their individual

capacity, jointly and severally:

       A.      Compensatory damages against each Defendant in an amount in

excess of $1,000,000.00;

       B.      That Plaintiff be granted punitive or liquidated damages in an amount

to be determined at trial from only the Defendants being sued in their individual

capacity, jointly and severally;
                                               29
   Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 30 of 33 PageID #:127




       C.      Reasonable attorney’s fees and costs of this suit; and

       D.      Such other relief as this Honorable Court deems just and appropriate.

                                 COUNT V
               MONELL CLAIM AGAINST COOK COUNTY, ILLINOIS
            AND THE OFFICE OF THE CHIEF JUDGE OF COOK COUNTY

       157.    The Plaintiff repeats and re-alleges paragraphs 1 through 156 of this

Complaint as paragraphs 1 through 156 of this Count V as though fully set forth

herein.

       158.    Chief Judge Evans, Plaintiff’s employer and the person who directs the Cook

County Adult Probation Department, pursuant to his authority, granted approval for the illegal

and unjustified discipline of Plaintiff as a Probation Officer.

       159.    There is a widespread practice in Cook County, Illinois to compel absolute

compliance by its Probation Officers with dictates from the Individually Named Defendants in

this cause lest the Probation Officers, no matter how blameless and/or senior in their positions,

be subjected to unwarranted discipline, suspension, and/or termination.

       160.    This practice is so permanent and well-settled that it constitutes a policy and

usage with the force of law.

       161.    Many of the most senior employees of the Cook County Adult Probation

Department, seeing what is occurring, are frozen with fear of retaliation by members of their

command.

       162.    The wrongdoing by Defendants described throughout this First Amended

Complaint has been pervasive and has long been feared by employees of the Cook County Adult

Probation Department.




                                                 30
   Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 31 of 33 PageID #:128




       163.    Having had it called to his attention, Chief Judge Evans is well aware of this

practice of subjecting senior employees of the Cook County Adult Probation Department to

unwarranted discipline, suspension, and/or termination in violation of their constitutional rights

and/or the most mundane of reasons.

       164.    Having had this matter called to the attention of Chief Judge Evans, there still

remains in the Cook County Adult Probation Department (1) the lack of constraints by policies

made by others; (2) lack of “meaningful review”; and (3) a “grant of authority” to defendants to

make the policy decision.

       165.    Chief Judge Evans has final policymaking authority in Cook County,

Illinois regarding the Cook County Adult Probation Department.

       WHEREFORE, Plaintiff Carla Rodgers respectfully prays this Honorable

Court to grant the following relief against Cook County, Illinois and the Office of the Chief

Judge of Cook County:

       A.      Compensatory damages against Defendant in an amount in excess of

$1,000,000.00;

       B.      Reasonable attorney’s fees and costs of this suit; and

       C.      Such other relief as this Honorable Court deems just and appropriate.




                                                31
  Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 32 of 33 PageID #:129




                                        COUNT VI

                 STATE LAW CLAIM FOR INDEMNIFICATION
          AGAINST PLAINTIFF’S EMPLOYER, COOK COUNTY, ILLINOIS
           AND THE OFFICE OF THE CHIEF JUDGE OF COOK COUNTY

      166.   The Plaintiff repeats and re-alleges paragraphs 1 through 165 of this

Complaint as paragraphs 1 through 165 of this Count VI as though fully set forth

herein.

      167.   Illinois law provides that public entities are directed to pay any tort

judgment for compensatory damages for which employees are liable within the

scope of their employment activities.

      168.   The Adult Probation Department Defendants were employees,

members, and agents of the Circuit Court of Cook County and the County of Cook,

acting at all relevant times within the scope of their employment in committing the

misconduct described herein.

      169.   Cook County is obligated by Illinois statute to pay any judgment for

compensatory damages entered against the Adult Probation Department

Defendants or any of them.

      WHEREFORE, Plaintiff respectfully prays this Honorable Court to grant the

following relief against Defendant Cook County, Illinois and the Office of the Chief

Judge of Cook County:

      A.     Compensatory damages against Defendants in the amount of

$1,000,000.00;

      B.     Reasonable attorney’s fees and costs of this suit; and



                                           32
  Case: 1:17-cv-05240 Document #: 23 Filed: 09/18/17 Page 33 of 33 PageID #:130




      C.    Such other relief as this Honorable Court deems just and appropriate.



                                                  Respectfully submitted,

                                                  /S/ John P. DeRose
                                                  John P. DeRose
                                                  One of Plaintiff's Lawyers

John P. DeRose & Associates
15 Spinning Wheel Road
Suite 428
Hinsdale, Illinois 60521
(630) 920-1111 Office
(630) 920-1170 Fax
john@johnderoselaw.com




                                       33
